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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN


RONALD ELLIOTT,

      Plaintiff,                              Case No. 2:17-cv-13381-SFC-DRG
                                              Hon. Sean F. Cox
v.                                            Mag. Judge David R. Grand

I.C. SYSTEM, INC.,

     Defendant.
__________________________________________________________________

             STIPULATION AND ORDER FOR DISMISSAL
         OF DEFENDANT I.C. SYSTEM, INC., WITH PREJUDICE

      Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Ronald Elliott (“Plaintiff”) and

Defendant I.C. System, Inc., hereby jointly stipulate and agree that Plaintiff

dismisses, with prejudice, his claims asserted against I.C. System, Inc. in the above-

styled action, with the parties to bear their own attorney’s fees, costs and expenses.

/s/ Gary Nitzkin                             /s/ Xerxes Martin
Gary D. Nitzkin (P41155)                     Xerxes Martin
Attorneys for Plaintiff                      Attorneys for Defendant
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RONALD ELLIOTT,

       Plaintiff,                            Case No. 2:17-cv-13381-SFC-DRG
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I.C. SYSTEM, INC.,

       Defendant.



     ORDER FOR DISMISSAL OF I.C. SYSTEM, INC. WITH PREJUDICE

       The Court having received the parties’ Stipulation, and being otherwise fully

advised in the premises,

       IT IS HEREBY ORDERED that Defendant I.C. System, Inc., shall be

dismissed with prejudice and without costs or attorney fees awarded to either party.

Dated: November 14, 2018                     s/Sean F. Cox
                                             Sean F. Cox
                                             U. S. District Judge




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